                 Case 5:23-cr-50032-TLB Document 32                       Filed 05/10/24 Page 1 of 6 PageID #: 95
AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet I



                                          UNITED STATES DISTRICT COURT
                                        Western District of Arkansas
                                                      )
               UNTTED STATES OF AMERICA               )     JUDGMENT IN A CRIMINAL CASE
                          v.                          )
                                                      )
                                                      )     Case Number:         5 :23CR50032-00 I
                DEANN ELAINE RAGLAND                  )     USM Number:          59611-510
                                                      )
                                                      )     Kevin Lammers
                                                      )     Defendant's Attorney
THE DEFENDANT:
C8J pleaded guilty to count(s)       One (I) of the Indictment on December 4, 2023.

D pleaded nolo contendere to count(s)
     which was accepted by the court.

D was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                   Offense Ended
 18 U.S.C. § 641                   Theft of Government Funds                                             12/01 /2018




       The defendant is sentenced as provided in pages 2 through       ___6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

D The defendant has been found not guilty on count(s)
D Count(s) - - - - - - - - - - - - - D is                        D are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                       Honorable James M. Moody, Jr. , United States District Judge
                                                                       Name and Title of Judge




                                                                       Date
                                                                              s(10( z~
               Case 5:23-cr-50032-TLB Document 32                       Filed 05/10/24 Page 2 of 6 PageID #: 96
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 4-Probation
                                                                                                    Judgment-Page _ _
                                                                                                                    2 _ of _ _ _6c...__ _
 DEFENDANT:               DEANN ELAINE RAGLAND
 CASE NUMBER:             5:23CR50032-001
                                                            PROBATION

 You are hereby sentenced to probation for a term of: five (5) years.




                                                     MANDATORY CONDITIONS
I.    You must not commit another federal , state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of placement on
      probation and at least two periodic drug tests thereafter, as determined by the court.
           C8J The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
             substance abuse. (check if applicable)
4. C8J You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5. D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 2090 I, et seq.)
       as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
       reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6. D You must participate in an approved program for domestic violence. (check if applicable)
7. C8J You must make restitution in accordance with 18 U.S .C. §§ 2248, 2259, 2264, 2327, 3663 , 3663A, and 3664. (check if applicable)
8.   You must pay the assessment imposed in accordance with 18 U.S .C. § 3013 .
9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
I 0. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution ,



You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 4A - Probation
                                                                                               Judgment-Page _ _ _3 _ _ of _ __ _6_ __
DEFENDANT:                   DEANN ELAINE RAGLAND
CASE NUMBER:                 5 :23CR50032-00 I

                                        ST AND ARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
     you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least I 0
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony , you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0. You must not own , possess, or have access to a firearm , ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
     person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                   Date
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 40 - Probation
                                                                                           Judgment-Page     4     of - ~6~ _
DEFENDANT:                DEANN ELAINE RAGLAND
CASE NUMBER:              5:23CR50032-00I

                                         SPECIAL CONDITIONS OF SUPERVISION

I . The defendant shall reside at a residential reentry facility for the first 12 months of probation. The defendant shall obtain
    employment w ithin 60 days.

2. Until the financial penalties are paid in full , the defendant shall not incur any new debt, nor establish any bank or credit
   accounts unless receiving prior approval from the probation officer and will make any information concerning her
   financial status available to the probation officer upon request.

3. The defendant shall allow and give consent to the probation officer to make contact with any of the defendant' s financial
   institutions to confirm that the defendant is complying with the previously ordered special condition .

4. The defendant shall submit her person, residence, place of employment, and vehicle to a search to be conducted by the
   U.S . Probation Office at a reasonable time and in a reasonable manner based on a reasonable suspicion that evidence of
   any violation of conditions of supervised release might thereby be disclosed .
                Case 5:23-cr-50032-TLB Document 32                           Filed 05/10/24 Page 5 of 6 PageID #: 99
AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment- Page   5           of     6
 DEFENDANT:                        DEANN ELAINE RAGLAND
 CASE NUMBER:                      5:23CR50032-00 I
                                                 CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment            Restitution                  Fine                   AVAA Assessment*           NT A Assessment**
 TOTALS            $    100.00              $ $100,544.10                $ -0-                $   -0-                      $ -0-



 D     The determination of restitution is deferred until - - - - -. An Amended Judgm ent in a Criminal Case (AO 245C) will be
       entered after such determination .

 C8l The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
       in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all non federal victims must be
       paid before the United States is paid.

 Name of Payee                                   Total Loss***                    Restitution Ordered                  Priority or Percentage
 Social Security Administration                                                         $100,544.10
 Debt Management Section
 Attention : Court Refund
 P.O. Box 2861
 Philadelphia, PA 19122




 TOTALS                                      $                                     $   $100,544.10

 D     Restitution amount ordered pursuant to plea agreement $


 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 C8l   The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [8J   the interest requirement is waived for the         D fine     [8J restitution.

       □     the interest requirement for          D    fine    D   restitution is modified as follows :

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015 , Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters I 09A, 110, 11 0A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23 , 1996.
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AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 6 - Schedule of Payments
                                                                                                        Judgment - Page     6     of        6
 DEFENDANT:                 DEANN ELAfNE RAGLAND
 CASE NUMBER:               5:23CR50032-001


                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows :

 A     [gJ Lump sum payment of$ $100 644.10                     due immediately, balance due


            □      not later than                                   , or
            [gl    in accordance with    □    C     □    D,     □    E, or     [gl F below; or

 B     □    Payment to begin immediately (may be combined with               □ c,      O D, or    D F below); or
 C     D    Payment in equal      _ __ __            (e.g. , weekly, monthly, quarterly) installments of $ _ __ _ ___ over a period of
                           (e.g., months or years), to commence         _ __ __ (e.g., 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal           _ _ __ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ ____ over a period of
                           (e.g. , months or years), to commence _ _ _ __ (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     D Payment during the term of supervised release will commence within _ __ _ _ (e.g. , 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant' s ability to pay at that time; or

 F     [gl Special instructions regarding the payment of criminal monetary penalties:
            If not paid immediately, the defendant shall pay at least $500 per month or 10% of the defendant's gross monthly household
            income, whichever is greater.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
 Inmate Financial Responsibility Program, are made to the clerk of the court.




 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                     Joint and Several             Corresponding Payee,
       (including defendant number)                           Total Amount                       Amount                       if appropriate




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant' s interest in the following property to the United States:



 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessm ent,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and ( I0) costs, including cost of
 prosecution and court costs.
